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James Garretson (00:01):
Hello?

Jeff Johnson (00:01):
Hello.

James Garretson (00:04):
Just catching up on some work. What's going on?

Jeff Johnson (00:06):
I'm on my way to kill Jeff Lowe.

James Garretson (00:09):
Oh no. What happened?

Jeff Johnson (00:10):
Just had enough.

James Garretson (00:14):
Don't go to jail over that idiot, man.

Jeff Johnson (00:16):
Huh?

James Garretson (00:17):
Don't go to jail over that idiot.

Jeff Johnson (00:20):
I got nothing else, man. I'm going to go kill him tonight.

James Garretson (00:23):
No, man. Don't do that. Come on.

Jeff Johnson (00:25):
I'm on my way.

James Garretson (00:26):
Jeff, come on. Dude, you got kids to worry about.

Jeff Johnson (00:29):
It's all right. My kids will be fine with their mama. I'm on my way right now headed down 135. I'm going
to find [inaudible 00:00:36].



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James Garretson (00:36):
No, man. What happened? Tell me.

Jeff Johnson (00:36):
I've just had enough.

James Garretson (00:38):
I'm your friend, dude. Just tell me. What did he do?

Jeff Johnson (00:40):
You're not my friend. You're not my friend.

James Garretson (00:40):
Don't say that, man. What happened?

Jeff Johnson (00:42):
Nothing happened. He fucked a bunch of people, and I'm going to go kill him at his house.

James Garretson (00:52):
Man...

Jeff Johnson (00:56):
I'm on my way. I'm armed for bear, man.

James Garretson (00:59):
Dude, don't get yourself in trouble, dude.

Jeff Johnson (01:00):
What? What happened, man? I thought you was a tough guy.

James Garretson (01:05):
I am a tough guy, but man, you're walking into an ambush, man.

Jeff Johnson (01:09):
No, bullshit. [crosstalk 00:01:09] Bullshit, [inaudible 00:01:09].

James Garretson (01:09):
Get that dude when he's away from that park.

Jeff Johnson (01:12):
Huh?

James Garretson (01:12):

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Get that dude when he's away from the park, man.

Jeff Johnson (01:15):
I'm going to get him away from the park.

James Garretson (01:16):
You know I'm with you, if he's away from the park.

Jeff Johnson (01:21):
I'm on my way. I'm going to leave tonight. I'm on my way, man. You can't stop me. I'm on my way, and
I'm going to wait until he comes out of that park.

James Garretson (01:28):
You want me to come down there with you, dude?

Jeff Johnson (01:30):
No. Hell, he fucking called you out, man. What didn't you... Why didn't Paul go? Why didn't anybody go?

James Garretson (01:35):
Dude, I'm there. I'm there. If he goes to a public place...

Jeff Johnson (01:38):
No, you're not fucking there. Wasn't nobody there.

James Garretson (01:40):
Dude, I will beat anybody in a public place. But don't go into an ambush, man. Don't go into an ambush,
Jeff. Don't do it.

Jeff Johnson (01:51):
I've had enough.

James Garretson (01:52):
I know you have, man. Everybody's had enough of his shit. I'm homeless because of that son-of-a-bitch,
man, so I know where you're coming at.

Jeff Johnson (02:01):
Already told my wife, go fucking file for divorce, too.

James Garretson (02:04):
Man, don't do anything stupid, Jeff. Don't.

Jeff Johnson (02:06):
Already did. I already did. Already did.


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James Garretson (02:09):
Where are you at, man? I'll come meet you.

Jeff Johnson (02:13):
I thought you was in Florida, man.

James Garretson (02:15):
No, I'm back, man.

Jeff Johnson (02:15):
You're in fucking Florida.

James Garretson (02:17):
I'm back today.

Jeff Johnson (02:20):
You lied to me, man.

James Garretson (02:20):
I didn't lie to you. Don't call me out, man.

Jeff Johnson (02:22):
You've always lied to me.

James Garretson (02:23):
Dude, that's fucked up, man. I've never fucking lied to you.

Jeff Johnson (02:25):
Come on, man.

James Garretson (02:27):
Dude, don't call me out like that. I've never fucking lied, dude. I don't have no reason to fucking lie.

Jeff Johnson (02:34):
Why'd you lose your place?

James Garretson (02:37):
Over the fucking harassment, dude.

Jeff Johnson (02:39):
Really? Or was it because you didn't pay your rent?

James Garretson (02:41):

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No, it had nothing to do with my rent, dude.

Jeff Johnson (02:43):
I've been all over that scene, and I've seen what happens. I ain't stupid, man.

James Garretson (02:47):
Dude, don't call me out because you're pissed off at Jeff Lowe, dude. I've never done nothing to you.

Jeff Johnson (02:52):
I'm going to kill him tonight. Watch me.

James Garretson (02:56):
Dude, don't go to jail over this shit.

Jeff Johnson (02:59):
Call Matt, call Matt, call Matt.

James Garretson (02:59):
I'm not calling Matt. I'm not calling nobody.

Jeff Johnson (03:01):
Before the sun comes up, I'm going to be posting pictures of a dead Jeff Lowe tonight. If Tim Stark gets
in the way, I'm going to kill him, too.

James Garretson (03:12):
Is Tim Stark even there?

Jeff Johnson (03:15):
Yeah.

James Garretson (03:16):
Or is that just fucking smoke and mirrors?

Jeff Johnson (03:24):
No, he's there. Of course, he's there.

James Garretson (03:25):
I don't know, man. I don't know if that's just all smoke and mirrors, dude. You're going into a trap if you
go to that park.

Jeff Johnson (03:30):
I'm not going to the park. He says he wants to meet me. He wants to be a tough guy.



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James Garretson (03:36):
He won't meet anybody.

Jeff Johnson (03:42):
Fuck, dude. I'm sick and tired of him saying Paul's a fucking pussy and that fat guy, James, is a pussy.

James Garretson (03:46):
Yeah, but he's never came out in public. He'd never say that to anybody's face. Dude, he's four foot tall.

Jeff Johnson (03:54):
He's a tough guy, though.

James Garretson (03:54):
He's got a bad hip. What is he going to fucking do?

Jeff Johnson (03:59):
I'll tell you what he's going to do. He's going to fucking defend himself on fucking film getting my fucking
Glock 45 shoved up his pee-hole while I pull the trigger nine times. It's happening tonight. I've had
enough. Fuck Matt. Fuck you.

James Garretson (04:17):
Dude, don't fucking start talking shit to me, dude. I've never done nothing to you, man. I'm trying to
fucking level with you. Why are you talking shit to me?

Jeff Johnson (04:23):
I've had enough. I've had enough. I've had enough.

James Garretson (04:25):
But why are you talking shit to me, Jeff? I've never done nothing to you, dude.

Jeff Johnson (04:29):
I've had enough.

James Garretson (04:31):
So you're going to call me and talk shit to me?

Jeff Johnson (04:36):
I've had enough, man. I've had enough.

James Garretson (04:38):
I understand.

Jeff Johnson (04:40):


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I've had enough of Matt. I've had enough of Paul. Paul calls you a piece of shit. You call Paul a piece of
shit. I've had enough of the lying bullshit. Here's what's going to happen tonight. I'm going to go camp
out. I'm going to hide out, and I'm going to find that motherfucker, and I'm going to empty my fucking
Glock in his dick.

James Garretson (04:57):
He might not even fucking come out. The motherfucker probably hides in the damn house all day.

Jeff Johnson (05:01):
Well, cool. [inaudible 00:05:03]

James Garretson (05:02):
All that people can do is talk words on Facebook. That's it. That's all he can do. He can't even handle
Dylan. You think he can handle me or you or anybody else? No.

Jeff Johnson (05:14):
He can't handle my problem. I'm going to kill him tonight. I'm not kidding. I'm not going to go down and
whup his ass. I'm going to go in there and blow his fucking head off. I'm done.

James Garretson (05:23):
I agree with you, Jeff. I agree with you, but just look out...

Jeff Johnson (05:26):
I'm 56 years old. My life is fucked.

James Garretson (05:28):
Look out for your family, man.

Jeff Johnson (05:30):
I tried.

James Garretson (05:32):
Just look out for your family, dude, and those kids.

Jeff Johnson (05:35):
I have. I've been trying, dude. My wife don't get it. She wants me to just act like this never happened.

James Garretson (05:40):
Yeah, but dude, think about your kids, man.

Jeff Johnson (05:42):
I'm out. I'm out. Man, my kids... Man, they're young enough. They don't care. My wife will take care of
them. I already told her tonight. File for divorce. I'm out. I'm going to go kill that motherfucker tonight.


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James Garretson (05:55):
Dude, I wish you would listen, man.

Jeff Johnson (05:57):
Hey, I'm done. I'm done. The only way this is going to end is if he fucking dies.

James Garretson (06:06):
Well, don't let him shoot you first, man, because you're walking into an ambush.

Jeff Johnson (06:10):
No, I'm not. I'm the motherfucker that's had enough, that has dealt with this shit for five fucking years,
and I'm going to kill him tonight. You want to stop me? Get the law on me tonight.

James Garretson (06:22):
I'm not stopping you, dude, and I'm not calling the law. I'm just trying to be your friend here, dude, and
you're turning on me a little bit. Okay? I'm your friend. Call me an asshole. Say I'm not or whatever,
but...

Jeff Johnson (06:40):
Dude, I don't know what you're up to. I don't know.

James Garretson (06:41):
Dude, I'm trying to survive like every fucking body else, man. I'm a normal fucking person just like
everybody else trying to survive in this fucking shitty world.

Jeff Johnson (06:52):
Yeah, and you've been telling me for a fucking year you just want to punch him in the face. Well, guess
what?

James Garretson (06:54):
I will in a public spot. And he knows it. You don't see him coming to look for me.

Jeff Johnson (07:03):
I see him calling you every name in the fucking... And you not doing a goddamn thing about it.

James Garretson (07:11):
All right.

Jeff Johnson (07:12):
Paul's the same way. Paul's the same way. "Fuck him. I'll kick his ass."

James Garretson (07:13):
All right, you said you're going to whup...


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Jeff Johnson (07:14):
I don't see anybody doing nothing about it.

James Garretson (07:15):
But listen...

Jeff Johnson (07:16):
Well, guess what?

James Garretson (07:17):
All right, well then do it then, dude. But don't be calling me out because I'll fucking... If Jeff Lowe shows
up in town or wherever he's at, Florida, wherever I'm at, I'll handle Jeff Lowe, but I'm not going to go
walk into no fucking ambush.

Jeff Johnson (07:30):
Well, I am.

James Garretson (07:31):
His old lady carries a fucking gun.

Jeff Johnson (07:36):
Good for her. I carry several.

James Garretson (07:37):
Just be careful, man.

Jeff Johnson (07:38):
I know.

James Garretson (07:42):
Wise up, dude. Just don't go into a trap, man.

Jeff Johnson (07:43):
I'm smarter than that.

James Garretson (07:46):
I know, but just don't go into a trap, dude.

Jeff Johnson (07:48):
Watch your knees.

James Garretson (07:50):
All right, man. Later.

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Jeff Johnson (07:51):
Bye-bye.




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